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 1   LAW OFFICES OF JOHNNY L. GRIFFIN III
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 3   Telephone: (916) 444-5557
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 4

 5                               IN THE UNITED STATES DISTRICT COURT
 6                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8   UNITED STATES OF AMERICA,                                 )   Case No.: Cr.S-08-471-GEB
                                                               )
 9                     Plaintiff,                              )   ORDER GRANTING REQUEST TO
                                                               )   TRAVEL OUTSIDE THE DISTRICT AND
10            vs.                                              )   FOR THE RELEASE OF PASSPORT TO
                                                               )   DEFENDANT DALJIT SEKHON
11                                                             )
     DALJIT SEKHON                                             )   DATE: July 6, 2010
12                                                             )
                       Defendant.                              )
13                                                             )   Hon. Edmund F. Brennan
14

15            Defendant, by and through her undersigned counsel, hereby move the court for an order

16   authorizing her to travel outside the Eastern District of California, and for the Clerk of the United

17   States District Court for the Eastern District of California to release her passport for this travel.

18            Specifically, Defendant requests to travel to Vancouver, Canada leaving on July 7, 2010

19   and returning on July 11, 2010. The purpose of this travel is to attend a wedding. Defendant

20   will need her passport, which was previously surrendered to the Clerk of the United States

21   District Court for the Eastern District of California, for this travel. Defendant’s Passport Number

22   is 159234165. Defendant will surrender her passport back to the Clerk’s Office no later than

23   July 13, 2010. The Government has been advised of these requests and has no objection.1

24            Respectfully submitted,

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     1
      It should be noted that though Defendant is on pretrial release, she is not being supervised by Pretrial Services.
     Therefore, authorization was not sought from Pretrial Services.
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 1           Dated: July 6, 2010                          /s/ Mark J. Reichel2 __
                                                          MARK J. REICHEL
 2
                                                          Attorney for Defendant
 3
                                                          Daljit Sekhon

 4
             The United States of America, by and through its undersigned attorney, Assistant United
 5
     States Attorney Robert Tice-Raskin, has no objection to Defendant’s request for travel to
 6
     Vancouver, Canada leaving on July 7, 2010 and returning on July 11, 2010. Further, the United
 7
     States does not object to the release of her passport for this travel with the condition that it be
 8
     surrendered back to the Clerk’s Office no later than close of business on July 13, 2010.
 9

10   Dated: July 6, 2010                                  /s/ Robert Tice-Raskin3_
                                                          ROBERT TICE-RASKIN
11                                                        Chief, White Collar Crime Unit

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13           IT IS SO ORDERED.
14

15           Dated: July 6, 2010                          /s/ Edmund F. Brennan
                                                          Edmund F. Brennan
16
                                                          U.S. Magistrate Judge
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     2
       Based on the unavailability of Attorney Mark Reichel, and the urgency in obtaining the passport, Attorney Johnny
25
     L. Griffin, III was requested and authorized to electronically file this Proposed Order on Defendant’s behalf.
     3
       Assistant U.S. Attorney Robert Tice-Raskin has telephonically authorized Johnny L. Griffin, III to electronically
     sign this [Proposed] Order on his behalf.
